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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                        :    CRIMINAL NO.
                                                 :
           v.                                    :    MAGISTRATE NO. 21-MJ-082
                                                 :
 GRACYN DAWN COURTRIGHT,                         :    VIOLATIONS:
                                                 :    18 U.S.C. § 1752(a)(1)
                          Defendant.             :    (Entering and Remaining in a Restricted
                                                 :    Building)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)
                                                 :    18 U.S.C. § 641
                                                 :    (Theft of Government Property)


                                     INFORMATION

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, GRACYN DAWN

COURTRIGHT, did unlawfully and knowingly enter and remain in a restricted building and

grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President and Vice President-elect were temporarily

visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
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                                          COUNT TWO

       On or about January 6, 2021, in the District of Columbia, GRACYN DAWN

COURTRIGHT, did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

and Vice President-elect were temporarily visiting, when and so that such conduct did in fact

impede and disrupt the orderly conduct of Government business and official functions.

        (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                         COUNT THREE

       On or about January 6, 2021, in the District of Columbia, GRACYN DAWN

COURTRIGHT, willfully and knowingly engaged in disorderly and disruptive conduct in any of

the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session

of Congress and either House of Congress, and the orderly conduct in that building of a hearing

before or any deliberation of, a committee of Congress or either House of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))

                                          COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, GRACYN DAWN

COURTRIGHT, willfully and knowingly paraded, demonstrated, and picketed in any United

States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




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                                        COUNT FIVE

       On or about January 6, 2021, within the District of Columbia, GRACYN DAWN

COURTRIGHT, did embezzle, steal, purloin, knowingly convert to her use and the use of

another, and without authority, sold, conveyed, and disposed of any record, voucher, money, and

thing of value of the United States and any department and agency thereof, that is, a sign, which

has a value of less than $1,000.

       (Theft of Government Property, in violation of Title 18, United States Code, Section
       641)

                                            Respectfully submitted,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney
                                            New York Bar No. 4444188


                                       By: ___/s/RAF____________________
                                           RACHEL A. FLETCHER
                                           Assistant United States Attorney
                                           TX Bar No. 24078505
                                           Violent Crime and Narcotics Trafficking Section
                                           555 4th Street, N.W.
                                           Washington, D.C. 20530
                                           Office: (202) 252-7093
                                           Rachel.Fletcher@usdoj.gov




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